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                         United States District Court
                          Middle District of Florida
                            Jacksonville Division


UNITED STATES OF AMERICA,

            Plaintiff,

v.                                                  NO. 3:21-cr-48-TJC-PDB

KIMBERLY MICHELLE CLARIDY WALKER,

            Defendant.

______________________________________________________________________________


                                    Order

      The defendant has filed a pro se motion for the return of three cars and
a motorcycle administratively forfeited by the Bureau of Alcohol, Tobacco, and
Firearms, see Doc. 281, and other personal property that was criminally
forfeited through the final judgment of conviction, see Doc. 434 (citing Doc.
371). Doc. 490. A direct appeal of the final judgment of conviction is pending.
See Doc. 453.

      The United States must respond to the motion, Doc. 490, by May 15,
2023. The defendant’s appellate counsel must reply to the response by May
27, 2023.

      Counsel must address the effect of the appeal on this Court’s jurisdiction
to decide the motion, including the part of the motion concerning property that
was administratively forfeited and not part of the criminal judgment. See Fed.
R. Crim. P. 41(g) (rule governing a motion for the return of seized property
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during a criminal case); United States v. Dean, 80 F.3d 1535, 1542 (11th Cir.
1996) (explaining equitable or anomalous jurisdiction to order the return of
seized property when no criminal case is pending); Griggs v. Provident
Consumer Disc. Co., 459 U.S. 56, 58 (1982) (“The filing of a notice of appeal is
an event of jurisdictional significance—it confers jurisdiction on the court of
appeals and divests the district court of its control over those aspects of the
case involved in the appeal.”).

      Ordered in Jacksonville, Florida, on May 1, 2023.




c:    Chip Corsmeier, Assistant United States Attorney
      Gray Richard Proctor, Esquire
      Kimberly Michelle Claridy Walker
